Case 8:18-cv-01772-JLS-ADS Document 7 Filed 10/03/18 Page 1 of 2 Page ID #:21

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                                    CASE NUMBER:

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS LOCAL 396                                    8:18−cv−01772−JLS−ADS
                                     PLAINTIFF(S)

      v.
MADISON MATERIALS
                                                        NOTICE TO FILER OF DEFICIENCIES IN
                                                        REQUEST FOR ISSUANCE OF SUMMONS
                                   DEFENDANT(S).




PLEASE TAKE NOTICE:
The following problem(s) have been found with your electronically filed document:
  10/02/2018                  6              Request for Summons
Date Filed              Doc. No.    Title of Doc.
ERROR(S) WITH DOCUMENT:

The caption of the summons must match the caption of the complaint verbatim. If the caption
is too large to fit in the space provided, enter the name of the first party and then write “see
attached.” Next, attach a face page of the complaint or a second page addendum to the
Summons.




Other Error(s):
The summons cannot be issued until this defect has been corrected. Please correct the defect
and re−file your summons request.

                                                    Clerk, U.S. District Court

                                                    By: /s/ Evelyn Synagogue
Date: October 3, 2018                               Evelyn_Synagogue@cacd.uscourts.gov
                                                       Deputy Clerk




      − NOTICE TO FILER OF DEFICIENCIES IN REQUEST FOR ISSUANCE OF SUMMONS −
CasePlease
     8:18-cv-01772-JLS-ADS
           refer to the Court's website at Document    7 Filedfor10/03/18
                                           www.cacd.uscourts.gov  Local Rules, Page
                                                                               General2Orders,
                                                                                        of 2 and
                                                                                               Page  ID #:22
                                                                                                 applicable forms.




       − NOTICE TO FILER OF DEFICIENCIES IN REQUEST FOR ISSUANCE OF SUMMONS −
